       Case 3:19-cv-00195-KC Document 3-1 Filed 07/18/19 Page 1 of 3


                                                    C1kR0
                            U     ED STATES DISTRICT COURT
1
                                WESTERN DISTRICT OF TEXAS

     Federal Trade Commission, and                                r        -




               hio ex rel. Attorney General
                                                          No.         :19-CV-__________
     ,c.


                    Plaintiffs,                            EP19cv0195
                                                    [Proposedi ORDER TEMPORARILY
     V.

7                                                    SEALING DOCKET AND ENTIRE
     Madera Merchant Services, LLC, dba E                                FILE
8    Check Processing and
9
     echeckprocessing.net, a Texas company,
                                                                (FILED UNDER SEAL)
10   B&P Enterprises, LLC, a Texas company,

11   Bruce C. Woods, individually and as an
     owner, officer, member, and/or manager of
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     Madera Merchant Services, LLC, and B&P
13   Enterprises, LLC,

14   Patricia Woods, individually and as an
     owner, manager, and/or member of Madera
15   Merchant Services, LLC, and B&P
     Enterprises, LLC,
16

17   and

18   Victor Rodriguez, individually and as an
     officer, member, and/or manager of Madera
19   Merchant Services, LLC, and B&P
20   Enterprises, LLC,

21                  Defendants.

22          This matter is before the Court on the Ex   Parte   Motion of Plaintiffs Federal Trade
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     Commission and State of Ohio for to Temporarily Seal the Docket and Entire File under
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     Civil Local Rule CV-5 .2(a). The Court has carefully considered the merits of said
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     Motion and is otherwise fully advised in the premises.
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27          Accordingly, after due consideration,

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      Case 3:19-cv-00195-KC Document 3-1 Filed 07/18/19 Page 2 of 3




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             It is   HEREBY ORDERED AND ADJUDGED that Plaintiffs' Ex Parte Motion

 2   Temporarily Seal the Docket and Entire File is hereby GRANTED. Plaintiffs have

 3   demonstrated a compelling interest in temporarily sealing the entire file in this case. The
 4
     temporary seal is necessary to prevent the likely destruction of documents and the
 5
     dissipation of assets.
 6
             IT IS    FURTHER ORDERED that the entire file, docket sheet and all pleadings
 7

 8   and papers in the above-captioned matter shall be temporarily sealed. The seal shall lift

 9   automatically without further order of the Court at 5 P.M. Mountain Time on
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11
            IT IS     FURTHER ORDERED that this Order does not preclude the Clerk of the
12
     Court from providing counsel for Plaintiffs with copies of orders issued by the Court
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14   while the seal remains in effect, and this Order shall not be construed to prohibit

15   Plaintiffs or the Court-appointed Temporary Receiver from providing this Order and any
16   pleadings and papers filed to: the Court-appointed Temporary Receiver, the Defendants,
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     process servers, financial institutions, other persons or entities who may hold assets of the
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     Defendants, law enforcement authorities, consumer victims, potential witnesses for a
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20   possible preliminary injunction hearing, and credit reporting agencies.

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      Case 3:19-cv-00195-KC Document 3-1 Filed 07/18/19 Page 3 of 3



             IT IS FURTHER ORDERED that persons who receive notice of this action and
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 2   this Order before the seal is lifted shall not disclose the existence of this action, Order, or

 3   the terms of any orders entered by this Court, except to the extent necessary to implement
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     any temporary restraining order that the Court may enter.
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     DONE AND ORDERED, this                 day of                  ,   2019
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                                                              United States District Judge
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